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B17-16763                                 CAJ\sbt                           06/01/2017

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION – DAYTON

IN RE:                                        )     CHAPTER 7
                                              )
KELLY DENISE HENSLEY                          )     CASE NO. 17-30912
                                              )
                Debtor                        )     JUDGE LAWRENCE S. WALTER

      RESPONSE OF FIRST GUARANTY MORTGAGE CORPORATION TO
   CHAPTER 7 TRUSTEE’S OBJECTION TO MOTION FOR RELIEF FROM STAY
                   (Motion for Relief #15, Objection #19)

         Now comes FIRST GUARANTY MORTGAGE CORPORATION, hereinafter referred
to as “FIRST GUARANTY”, by and through its attorney, and files the within designated
Response to the Chapter 7 Trustee’s Objection to Motion for Relief from Stay in which he seeks
authority to market and sell the Real Estate at 8009 Volk Drive, Dayton, Ohio 45415, while
suggesting that there would be insufficient funds to pay the mortgage loan in full as he mentions
a carve out would be needed to provide an asset to the estate, and requests a hearing with respect
to same.
         FIRST GUARANTY represents that they object to any sale of the property that does not
pay their mortgage in full. The Trustee’s proposal would prejudice the rights of the secured
creditor.
         WHEREFORE, FIRST GUARANTY requests that the court grant the requested Motion
for Relief from Stay and separate Motion to Compel Trustee Abandonment of 8009 Volk Drive,
Dayton, Ohio 45415.
                                        Respectfully submitted,


                                        /s/ Cynthia A. Jeffrey
                                        Reimer Law Co.
                                        Cynthia A. Jeffrey #0062718
                                        Edward A. Bailey #0068073
                                        Peter M. O'Grady #0093349
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                                 CERTIFICATE OF SERVICE

I hereby certify a copy of the foregoing Response of FIRST GUARANTY MORTGAGE
CORPORATION to Objection to Claim was served (i) electronically on the date of filing
through the court’s ECF System on all ECF participants register in this case at the email address
registered with the court and (ii) by ordinary U.S. Mail on June 14, 2017 addressed to:

1.     Kelly Denise Hensley, Debtor
       6605 Hidden Knolls Court
       Dayton, OH 45449

2.     Montgomery County Treasurer
       451 West Third Street, Second Floor
       Dayton, Ohio 45422




                                        /s/ Cynthia A. Jeffrey
                                        Reimer Law Co.
                                        Cynthia A. Jeffrey #0062718
                                        Edward A. Bailey #0068073
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